Case 9:19-mc-80024-DMM Document 15 Entered on FLSD Docket 04/10/2019 Page 1 of 3



                       IN THE CIRCUIT COURT OF THE FIFTEENTH
             JUDICIAL CIRCUIT, IN AND FOR PALM BEACH COUNTY, FLORIDA

   PUES FAMILY TRUST IRA,                        CASE NO. 2018-CA-02109XXXXMBAJ

                          Plaintiff,
   v.

   LEV PARNAS, Individually, and
   PARNAS HOLDINGS INC.,

                     Defendants.
   _____________________________/

                           RESPONSE TO SUBPOENA DUCES TECUM
                               TO DEFENDANT, LEV PARNAS

          Defendant, LEV PARNAS, by undersigned counsel, hereby responds to the Subpoena

  Duces Tecum for Deposition in Aid of Execution dated July 5, 2018 and states:

  I.      Bank Records

          All Bank records requested by the Plaintiff in Paragraph I (A) through I (F), inclusive, are

  in the possession of the CPA for Lev Parnas and Svetlana Parnas. The CPA is Michael Daszkal

  of Daszkal Bolton, LLP. Mr. Daszkal’s letter of February 5, 2019, stating that his firm is working

  on the personal income taxes of Svetlana and Lev Parnas and the business tax returns for entities

  in which they have an interest in for the tax periods December 31, 2010 through December 31,

  2018 is being separately furnished to Plaintiff’s counsel today.

          LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph I (G) through I (M), inclusive.

  II.     Real Property

          LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph II (A) through II (E), inclusive.
Case 9:19-mc-80024-DMM Document 15 Entered on FLSD Docket 04/10/2019 Page 2 of 3
   Pue Family Trust IRA v. Parnas, et al.
   Case No. 2018-CA-02109XXXXMBAJ
   Response to Subpoena Duces Tecum for
   Deposition in Aid of Execution to Lev Parnas

            II (F) – The only and current Lease in the possession of LEV PARNAS, sought by

  Plaintiff in II (F), is being separately furnished to Plaintiff’s counsel today.

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph II (G) through II (M), inclusive.

  III.      Personal Property

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph III (A) through III(C), inclusive.

            III (D) – LEV PARNAS is attempting to compile a list of any household furnishings and

  fixtures purchased in the past five (5) years which had a purchase price in excess of $999.00 but

  does not believe any such items exist.

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph III (E) through III (I), inclusive.

  IV.       Business Interests/Employment

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph IV (A) through IV (H), inclusive.

  V.        Investments

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph V (A) through V (F), inclusive.

  VI.       General

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (A) through VI (E), inclusive.

            VI (F) – A copy of LEV PARNAS’ passport is being separately furnished to Plaintiff’s

  counsel today.

                                                      2
Case 9:19-mc-80024-DMM Document 15 Entered on FLSD Docket 04/10/2019 Page 3 of 3
  Pue Family Trust IRA v. Parnas, et al.
  Case No. 2018-CA-02109XXXXMBAJ
  Response to Subpoena Duces Tecum for
  Deposition in Aid of Execution to Lev Parnas

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (G) through VI (J), inclusive.

            VI (K) – A copy of LEV PARNAS’ Florida Driver’s License is being separately

  furnished to Plaintiff’s counsel today.

            LEV PARNAS has no records, documents or other items which are sought by Plaintiff in

  Paragraph VI (L) through VI (M), inclusive.

                                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

  via e-mail service on this 8th day of April 2019 in accordance with Florida Rule of Judicial

  Administration 2.516 to: Tony Andre, Esquire, Andre Law Firm P.A., Counsel for Judgment

  Creditor, 18851 NE 29th Avenue, Suite 724, Aventura, FL 33180; Telephone: 786-708-0813;

  Email: andre@andrelaw.com.

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                                                         By: /s/ Chris Alan Draper
                                                             Chris Alan Draper, Esq.
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